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 8                            UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
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12    UNITED STATES OF AMERICA,                        CASE NO. 1:11-CR-00354-026-LJO

13                            Plaintiff,

14           v.                                        ORDER DENYING DEFENDANT’S
                                                       REQUEST TO MODIFY PRESENTENCE
15    FELIPE GUTIERREZ,                                REPORT
16                            Defendant.

17                                                     (Doc. 634)

18

19          Defendant Felipe Gutierrez has requested that the Court modify his Presentence Report
20   (“PSR”) regarding the dates of his drug and alcohol addiction. Doc. 634. Specifically, Defendant
21   notes that the PSR currently states that he used drugs from 2007 to 2009, and requests that the Court
22   modify his PSR to reflect his usage of alcohol and marijuana from 2007 to 2011. Id.
23          Defendant filed the instant request because he seeks admission into an outpatient
24   correctional program and assistance for drug and alcohol abuse. Doc. 634. The Court has already
25   issued a recommendation for Defendant’s admission into the residential drug abuse program
26   (“RDAP”). Doc. 562. The Court’s recommendation, however, cannot guarantee Defendant’s entry
27   into RDAP. The authority to manage all federal correctional institutions belongs to the Bureau of
28   Prisons (“BOP”), which is required by statute to “make available appropriate substance abuse
           Case 1:11-cr-00354-JLT Document 643 Filed 03/30/16 Page 2 of 2



 1   treatment for each prisoner [the BOP] determines has a treatable condition of substance addiction or

 2   abuse.” 18 U.S.C. §§ 3621(b), 4042(a)(1). The BOP also has the discretion to determine which

 3   prisoners are eligible for RDAP. Id. § 3521(e)(2)(B); see also Reeb v. Thomas, 636 F.3d 1224, 1226

 4   (9th Cir. 2011); Downey v. Crabtree, 100 F.3d 662, 670 (9th Cir. 1996) (“Regarding substance-

 5   abuse treatment programs, the [BOP]’s discretion begins with deciding whether an inmate ever

 6   enters such a program.”). Substantive decisions by the BOP to admit a prisoner into RDAP or

 7   remove a prisoner from RDAP are not reviewable by the district court. Reeb, 636 F.3d at 1226.

 8          Under Federal Rule of Criminal Procedure Rule 32(f), the parties must state in writing any

 9   objections, including objections to material information, within fourteen days after receiving the

10   PSR. “The rule allows the defendant to challenge factual inaccuracies during imposition of the

11   sentence, not later.” United States v. Freeny, 841 F.2d 1000, 1002 (9th Cir. 1988). Thus, a district

12   court can only entertain a motion to correct a PSR if that motion was filed before the imposition of

13   a defendant’s sentence. As Defendant’s request was filed on February 1, 2016, over two years after

14   he was sentenced on October 15, 2013, see Doc. 384, the Court lacks authority to modify

15   Defendant’s PSR at this time. Freeny, 841 F.2d at 1002.

16                                     CONCLUSION AND ORDER

17          For the foregoing reasons, IT IS HEREBY ORDERED that Defendant Felipe Gutierrez’s

18   request to modify his Presentence Report (Doc. 634) is DENIED. The Clerk of Court is

19   DIRECTED to TERMINATE and CLOSE THE CASE.
     IT IS SO ORDERED.
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21      Dated:     March 30, 2016                            /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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